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                           No. 23-12155

        In the United States Court of Appeals
               for the Eleventh Circuit

                        August Dekker et al.,
                         Plaintiff-Appellees,

                                   v.

Secretary, Florida Agency for Health Care Administration et al.,
                     Defendant-Appellants.

U.S. District Court for the Northern District of Florida, No. 4:22-cv-325
                              (Hinkle, J.)


              AMICUS CURIAE BRIEF OF
           SCHOLAR JAY W. RICHARDS, PH.D.,
       IN SUPPORT OF DEFENDANT-APPELLANTS
    SECRETARY, FLORIDA AGENCY FOR HEALTH CARE
               ADMINISTRATION ET AL.



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 USCA11 Case: 23-12155     Document: 42    Date Filed: 10/13/2023   Page: 2 of 46
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CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
             DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh

Circuit Rules 26.1-1 through 26.1-3, Amicus provides this Certificate of

Interested Persons and Corporate Disclosure Statement. To the best of

amicus’s knowledge, the following persons and entities may have an

interest in the outcome of this case:

       1.    Academic Pediatric Association, Amicus

       2.    Alstott, Anne, Amicus

       3.    Altman, Jennifer, Counsel for Plaintiffs

       4.    American Academy of Child and Adolescent Psychiatry,
             Amicus

       5.    American Academy of Family Physicians, Amicus

       6.    American Academy of Nursing, Amicus

       7.    American Academy of Pediatrics, Amicus

       8.    American College of Obstetricians and Gynecologists,
             Amicus

       9.    American College of Osteopathic Pediatricians, Amicus

       10.   American College of Physicians, Amicus

       11.   American Medical Association, Amicus

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       12.   American Pediatric Society, Amicus

       13.   American Psychiatric Association, Amicus

       14.   Anderson, Barrett, Counsel for Amicus

       15.   Antommaria, Armand, Witness

       16.   Association of American Medical Colleges, Amicus

       17.   Baker, Kellan, Witness

       18.   Bardos, Andy, Counsel for Amicus

       19.   Barnes, Brian, Counsel for Amicus

       20.   Beato, Michael, Counsel for Defendants

       21.   Biomedical Ethics and Public Health Scholars, Amicus

       22.   Boergers, Kathleen, Counsel for Amicus

       23.   Boulware, Susan, Amicus

       24.   Boyden Gray PLLC, Counsel for Amicus

       25.   Bowdre, Alexander, Counsel for Amicus

       26.   Brackett, John Matthew, Witness

       27.   Brown, Louis, Jr., Amicus

       28.   Burleigh, Clifton, Jr., Amicus

       29.   Charles, Carl, Counsel for Plaintiffs


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       30.   Chriss, Simone, Counsel for Plaintiffs

       31.   Chuang, Ming, Counsel for Amicus

       32.   Clark, Kaila, Counsel for Amicus

       33.   Coursolle, Abigail, Counsel for Plaintiffs

       34.   Dalton, Ann, Witness

       35.   Debriere, Katherine, Counsel for Plaintiffs

       36.   Dekker, August, Plaintiff

       37.   Do No Harm, Amicus

       38.   Doe, Jane, Plaintiff

       39.   Doe, John, Plaintiff

       40.   Doe, Susan, Plaintiff

       41.   Dunn, Chelsea, Counsel for Plaintiffs

       42.   Edmiston, Kale, Witness

       43.   Endocrine Society, Florida Chapter of the American

             Academy of Pediatrics, Amicus

       44.   English, Jeffrey, Witness

       45.   Figlio, Erik, Counsel for Amicus

       46.   Florida Agency for Health Care Administration, Defendant


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       47.   Florida Chapter of the American Academy of Pediatrics,
             Amicus

       48.   Florida Policy Institute, Amicus

       49.   Florida Voices for Health, Amicus

       50.   Gonzalez-Pagan, Omar, Counsel for Plaintiffs

       51.   Halley, Ted, Amicus

       52.   Hartnett, Kathleen, Counsel for Amicus

       53.   Helstrom, Zoe, Counsel for Amicus

       54.   Heyer, Walt, Amicus

       55.   Hinkle, Robert, U.S. District Court Judge

       56.   Hruz, Paul William, Witness

       57.   Hussein, Abdul-Latif, Amicus

       58.   Hutton, Kim, Witness

       59.   Isasi, William, Counsel for Amicus

       60.   Janssen, Aron Christopher, Witness

       61.   Jazil, Mohammad, Counsel for Defendants

       62.   K.F., Plaintiff

       63.   Kaliebe, Kristopher Edward, Witness

       64.   Kamody, Rebecca, Amicus

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       65.   Kang, Katelyn, Counsel for Amicus

       66.   Karasic, Dan, Witness

       67.   Kline, Robert, Counsel for Amicus

       68.   Kniffin, Eric, Counsel for Amicus

       69.   Krasovec, Joseph, Counsel for Amicus

       70.   Kuper, Laura, Amicus

       71.   Lannin, Cortlin, Counsel for Amicus

       72.   Lappert, Patrick, Witness

       73.   Laudue, Jade, Plaintiff

       74.   Levine, Stephen, Witness

       75.   Little, Joseph, Counsel for Plaintiffs

       76.   Marstiller, Simone, Former Defendant

       77.   Mauler, Daniel, Counsel for Amicus

       78.   McCotter, R. Trent, Counsel for Amicus

       79.   McKee, Catherine, Counsel for Plaintiffs

       80.   McNamara, Meredithe, Amicus

       81.   Meszaros, Marie, Amicus

       82.   Miller, William, Counsel for Plaintiffs

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       83.   Mondry, Emily, Counsel for Amicus

       84.   Morrison, Rachel, Amicus

       85.   National Association of Pediatric Nurse Practitioners,
             Amicus

       86.   Norohna, Maya, Amicus

       87.   North Central Florida Council of Child and Adolescent
             Psychiatry, Amicus

       88.   Olezeski, Christy, Amicus

       89.   Olson-Kennedy, Johanna, Witness

       90.   Pediatric Endocrine Society, Amicus

       91.   Perko, Gary, Counsel for Defendants

       92.   Pratt, Christine, Amicus

       93.   Pratt, Joshua, Counsel for Defendants

       94.   Ramer, John, Counsel for Amicus

       95.   Reinhardt, Elizabeth, Counsel for Amicus

       96.   Richards, Jay, Amicus

       97.   Rivaux, Shani, Counsel for Plaintiffs

       98.   Rothstein, Brit, Plaintiff

       99.   Samuels, Valerie, Counsel for Amicus

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       100. Schechter, Loren, Witness

       101. Scott, Sophie, Witness

       102. Severino, Roger, Amicus

       103. Shaw, Gary, Counsel for Plaintiffs

       104. Shumer, Daniel, Witness

       105. Societies for Pediatric Urology, Amicus

       106. Society for Adolescent Health and Medicine, Amicus

       107. Society for Pediatric Research, Amicus

       108. Society of Pediatric Nurses, Amicus

       109. State of Alabama, Amicus

       110. State of Arkansas, Amicus

       111. State of California, Amicus

       112. State of Georgia, Amicus

       113. State of Indiana, Amicus

       114. State of Iowa, Amicus

       115. State of Kentucky, Amicus

       116. State of Louisiana, Amicus

       117. State of Mississippi, Amicus

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       118. State of Missouri, Amicus

       119. State of Montana, Amicus

       120. State of Nebraska, Amicus

       121. State of North Dakota, Amicus

       122. State of South Carolina, Amicus

       123. State of Tennessee, Amicus

       124. State of Texas, Amicus

       125. State of Utah, Amicus

       126. State of Virginia, Amicus

       127. Szilagyi, Nathalie, Amicus

       128. Thompson, David, Counsel for Amicus

       129. Veroff, Julie, Counsel for Amicus

       130. Veta, D. Jean, Counsel for Amicus

       131. Weida, Jason, Defendant

       132. World Professional Association for Transgender Health,
            Amicus




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      To the best of amicus’s knowledge, no other persons, associations of

persons, firms, partnerships, or corporations have an interest in the

outcome of this case or appeal.

                               /s/ R. Trent McCotter
                               R. Trent McCotter




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     INTEREST AND IDENTITY OF THE AMICUS CURIAE1

     Amicus Jay W. Richards, Ph.D., is an analytic philosopher who

focuses on medical and public policy issues involving gender dysphoria.

For identification purposes only, Dr. Richards is the director of the

Richard and Helen DeVos Center for Life, Religion, and Family and the

William E. Simon Senior Research Fellow in Religious Liberty and Civil

Society at The Heritage Foundation. He is also a senior fellow at the

Discovery Institute.

     Dr. Richards is the author or editor of more than a dozen books,

including the New York Times bestsellers Infiltrated (2013) and

Indivisible (2012); The Human Advantage; Money, Greed, and God

(2009), winner of a 2010 Templeton Enterprise Award; The Hobbit Party

(2014) with Jonathan Witt; The Human Advantage (2018); and The Price

of Panic (2020).

     Dr. Richards’s articles and essays have been published in The

Harvard Business Review, Wall Street Journal, Barron’s, Washington




1 No counsel for any party has authored this brief in whole or in part, and

no entity or person, aside from amicus curiae and its counsel, made any
monetary contribution intended to fund the preparation or submission of
this brief. All parties consent to the filing of this brief.


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Post, The New York Post, Newsweek, Forbes, Fox News, National Review

Online, The Hill, Investor’s Business Daily, Washington Times, The

Philadelphia Inquirer, The Huffington Post, The Federalist, The Daily

Caller, and many other publications. His work has been covered widely

in publications such as The New York Times, The Washington Post, The

Wall             Street              Journal, The                 Washington

Times, Nature, Science, Astronomy, Physics Today, The Chronicle of

Higher Education, and Congressional Quarterly Researcher.

       Dr. Richards seeks to provide the Court with the benefit of his

extensive research in this field, and specifically, to demonstrate that the

scientific debate is far from settled regarding the efficacy and propriety

of the pediatric use of puberty blockers, cross-sex hormones, and gender

transition surgeries as a treatment for gender dysphoria. Dr. Richards

will also discuss the results of systematic reviews conducted by the

national health systems of northern European countries on this subject.

Finally, Dr. Richards will discuss common misunderstandings and myths

about these medical interventions.




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                  SUMMARY OF THE ARGUMENT

     The State of Florida rightly recognizes that the current trend of

treating children struggling with gender dysphoria with puberty

blockers, cross-sex hormones, and “transition” surgeries has a very weak

basis in scientific evidence and is, at best, experimental. There is

profound disagreement within the medical community, both nationally

and internationally, over the efficacy and long-term harm resulting from

these procedures. This serious disagreement is evident at both the

national and international levels. There is much we do not yet know

about the long-term effects of these procedures. Thus, the wise path is to

hesitate before conducting body-altering, irreversible interventions on

children suffering from a form of mental distress that, until recently,

usually resolved after such children completed puberty.

     In the district court below, the Plaintiffs-Appellees incorrectly

claimed a supposed consensus of the “mainstream medical community.”2

That consensus is merely the agreement of Plaintiffs-Appellees’ cherry-

picked medical trade groups—none of whom have the unique authority

to define the status of scientific evidence or the ethical implications of


2 See, e.g., Pls.’ Mot. For Preliminary Injunction at 26, ECF No. 11.




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certain medical interventions. Moreover, it is not clear that these

statements even accurately represent the views of members of these

organizations.

     In any case, the scientific debate on this matter is far from settled.

Consider one recent example: a peer-reviewed investigative report

published in the BMJ,3 one of the world’s oldest and most respected

medical journals. It is a bombshell: Gender dysphoria in young people is

rising—and so is professional disagreement.4 This peer-reviewed article

chronicles the rapid rise of gender dysphoria diagnoses, the medical

establishment’s move to service and treat those cases, and the

professional disagreement that has arisen in the wake of these invasive

treatments, particularly overseas. This publication itself undermines the

Plaintiffs-Appellees’ claim of a supposed consensus.




3 The BMJ was formerly known as the British Medical Journal, having

shortened its name to The BMJ in 2014. It was first published in 1840.
History of The BMJ, The BMJ (Apr. 4, 2023), https://www.bmj.com/about-
bmj/history-of-the-bmj.
4 Jennifer Block, “Gender dysphoria in young people is rising—and so is

professional     disagreement,”   The       BMJ       (Feb.      23,    2022):
https://doi.org/10.1136/bmj.p382.


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     Not only do multiple studies and medical associations disagree with

Plaintiffs-Appellees’ claim of consensus, but a number of European

national health systems have expressed serious concern and doubt. These

include the United Kingdom, Sweden, Finland, and Denmark. All were

previously much closer to the Plaintiffs-Appellees’ supposed consensus.

But after conducting systematic and other reviews of the relevant

scientific literature, they put the brakes on their own policies of “gender

affirming” interventions.

     Here at home, the federal government has also been cautious. In

2020, the U.S. Department of Health and Human Services, despite its

recent advocacy of “gender-affirming care,” noted that the “medical

community is divided on many issues related to gender identity,

including the value of various ‘gender-affirming’ treatments for gender

dysphoria (especially for minors).”5 And four years earlier, under the

Obama Administration, the U.S. Centers for Medicare and Medicaid

Services (“CMS”) concluded that “there is not enough high quality




5 Nondiscrimination in Health & Health Education Programs or
Activities, 85 Fed. Reg. 37,160, 37187 (Jun. 19, 2020).


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evidence to determine whether gender reassignment surgery improves

health outcomes for Medicare beneficiaries with gender dysphoria.”6

     Where objective observers would expect to find “high quality

evidence,” they find instead several dangerous myths—dangerous

because they can blind doctors, patients, and families to serious long-

term consequences.

     One particularly pernicious myth is that puberty blockers, cross-

sex hormones and surgeries are necessary to prevent suicide in children

struggling with gender dysphoria. As discussed below, there is no solid

evidence for this claim.

     The use of puberty blockers to treat gender dysphoria is similarly

fortified by myths, namely, that they are approved by the U.S. Food and

Drug Administration for the treatment, and that they are “reversible.”

     Another common myth is that regret and change of course amongst

patients subjected to these body- and life-altering treatments are

extremely rare. While the Plaintiffs-Appellees would like to ignore or




6 Decision Memorandum, Gender Dysphoria and Gender Reassignment

Surgery, Ctrs. For Medicare & Medicaid Srvs (Aug. 30, 2016):
https://go.cms.gov/3Uqw68E.


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downplay the existence of such “detransitioners,” their numbers are

growing.

     In summary, the State of Florida is not only within its rights, it is

also justified in its determination that the use of puberty blockers, cross-

sex hormones, and surgeries to children struggling with gender

dysphoria is risky and experimental. The scientific debate on these

interventions is nowhere near settled.

                              ARGUMENT

I.   The Rush to Change: The Explosive Growth in Both Gender
     Dysphoria and Drastic, Body-Altering Interventions to
     Treat It.

     There can be little doubt of the abrupt shift over the past two

decades in the way physicians treat pediatric gender dysphoria. This has

corresponded to an explosion in the number of minors diagnosed with this

condition. According to one major study, “at least 121,882 children ages

6 to 17 were diagnosed with gender dysphoria in the five years to the end

of 2021.” This includes a spike of 70% between 2020 and 2021 alone.7




7 Chad Terhune, et al., “As More Transgender Children Seek Medical

Care, Families Confront Many Unknowns,” Reuters (Oct 6, 2022):
https://www.reuters.com/investigates/special-report/usa-transyouth-
care/.


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     Consider one other statistic: the DSM-5—published in 2013—

reported the prevalence of gender dysphoria at between 0.002 and 0.014

% of the population. But in 2018, a study found that 9.2 % of students at

a school district in Pittsburgh reported these symptoms.8, 9, 10

     This explosion in the number of patients with symptoms of gender

dysphoria has occurred alongside the growing popularity of a suite of

medical interventions for treating this condition, called “gender affirming

care.” This protocol typically starts with social transition, followed (for

patients not yet beyond Tanner stage two) by puberty blockers, followed

by cross-sex hormones, and culminating in gender transition surgeries.

     For the medical industry, this is a gold mine. It’s no wonder that a

new industry has emerged to service such demands—including a huge


8 Kacie M. Kidd, et al., “Prevalence of Gender-Diverse Youth in an Urban

School     District,”   Pediatrics   147,       no.     6     (June      2021):
https://doi.org/10.1542/peds.2020-049823.
9 Christina Buttons, “At Least 6% Of Students Identify As Transgender

At One California School District, Data Analysis Finds,” The Daily Wire
(January 17, 2023): https://www.dailywire.com/news/at-least-6-of-
students-identify-as-transgender-at-one-california-school-district-data-
analysis-finds.
10 Guilia Carbonaro, “Number of Gen Z People Identifying as
Transgender Twice That of Millennials,” Newsweek (February 24, 2023):
https://www.newsweek.com/people-who-identify-transgender-doubles-
gen-z-1783562.


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spike in gender surgeries for minors in recent years. Data published in

the Annals of Plastic Surgery found a thirteen-fold increase in “gender

affirming” mastectomies between 2013 and 2020.11             Meanwhile, the

number of U.S. clinics that focus on providing hormones and surgeries

for minors has surged from one in 2007 to at least 80 today.12 And

evidence suggests that such clinics are fast-tracking children to more

aggressive treatments faster than before. In a study of teens at Seattle

Children’s Hospital’s gender clinic, two-thirds of teens were taking

hormones within one year of their initial visit.13




11 Anne Tang, J. Carlo Hojilla, Jordan Jackson, Kara A. Rothenberg,
Rebecca C Gologorsky, Douglas A. Stram, Colin M. Mooney, Stephanie L.
Hernandez, and Karen M Yokoo, “Gender-Affirming Mastectomy Trends
and Surgical Outcomes in Adolescents,” Annals of Plastic Surgery 88, no.
4 (May 2022): https://doi.org/10.1097/SAP.0000000000003135.
12 C. Terhune,  R. Respaut, M. Conlin, ”As children line up at gender
clinics, families confront many unknowns,“ Reuters (Oct. 6, 2022):
https://www.reuters.com/investigates/special-report/usa-transyouth-
care/.
13Diana Tordoff, et al., “Mental health outcomes in transgender and
nonbinary youths receiving gender-affirming care,“ JAMA Netw Open 5,
no. 2 (2022): https://doi.org/10.1001/jamanetworkopen.2022.0978.


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II.   The Science is Not Settled: After Blazing a Trail on Child
      Sex-Trait Modification, European Countries Backtrack Due
      to New Evidence of Harms.

      Over the past 20 to 30 years, several countries in northern Europe

have practiced “affirming care” to treat gender dysphoria. This includes

the use of social transitioning, puberty blockers, and gender-transition

surgeries for minors. The United Kingdom, Sweden,14,15 Finland,16 and

Denmark17 practiced affirmative medicine until they noticed the major

increase of teenagers, especially girls with co-existing mental health


14 The National Board of Health and Welfare (Sweden), “Care of children

and      adolescents    with     gender     dysphoria”  (2022),              at:
https://www.socialstyrelsen.se/globalassets/sharepoint-
dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf.
15 “Gender dysphoria in children and adolescents: an inventory of the

literature,” Swedish Agency for Health Technology Assessment and
Assessment of Social Services (December 20, 2019), at:
https://www.sbu.se/en/publications/sbu-bereder/gender-dysphoria-in-
children-and-adolescents-an-inventory-of-the-literature/.
16 Riittakerttu Kaltiala, Elias Heino, Marja Työläjärvi & Laura
Suomalainen, “Adolescent development and psychosocial functioning
after starting cross-sex hormones for gender dysphoria,” Nordic Journal
of          Psychiatry        74,          no.        3          (2020):
https://www.tandfonline.com/doi/abs/10.1080/08039488.2019.1691260?jo
urnalCode=ipsc20.
17 Mette Vinther Hansen, Annamaria Giraldi, Katharina Maria Main,

Jonas Vrublovsky Tingsgård, & Mette Ewers Haahr, “Sundhedsfaglige
tilbud til børn og unge med kønsubehag,” Ugeskr Læger 185 (July 3,
2023):             https://content.ugeskriftet.dk/sites/default/files/2023-
06/V11220740_WEB.pdf.


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problems, dominating their clinics. Similar trends have appeared in the

United States, according to data published in peer-reviewed journals

and, more recently, by Reuters.18

     Sweden, Finland, and the UK responded by conducting systematic

reviews of the evidence. They each found that the available evidence did

not show the benefits of these procedures outweighed the risks. As a

result, they have shifted to a much more conservative approach. The U.K.

closed its main pediatric gender clinic—Tavistock19—in the wake of a

critical review.20 The country’s National Health Service acknowledged

that gender dysphoria may be a “transient phase” for many minors with

symptoms of gender dysphoria or confusion.21 What’s more, it recognized



18 Chad Terhune, et al., “As More Transgender Children Seek Medical

Care, Families Confront Many Unknowns,” Reuters (Oct. 6, 2022):
https://www.reuters.com/investigates/special-report/usa-transyouth-
care/.
19 Jasmine Andersson & Andre Rhoden-Paul, “NHS to close Tavistock

child gender identity clinic,” BBC News (July 28, 2022), at:
https://www.bbc.com/news/uk-62335665.
20 The Cass Review: Independent review of gender identity services for

children and young people: Interim report (February 2022), at:
https://cass.independent-review.uk/publications/interim-report/.
21 NHS England. Interim service specification: specialist service for
children and young people with gender dysphoria (phase 1 providers)
(October    2022):    https://www.engage.england.nhs.uk/specialised-


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the “lack of clinical consensus and polarized opinion on what the best

model of care for children and young people experiencing gender

incongruence and dysphoria should be.”22 It noted also a “lack of evidence

to support families in making informed decisions about interventions

that may have life-long consequences.”23

         Finally, some NHS staff members reported feeling “under pressure

to adopt an unquestioning affirmative approach” towards hormonal or

surgical sex changes for children, which was “at odds with the standard

process of clinical assessment and diagnosis that they have been trained

to undertake in all other clinical encounters.”24

         Similarly, Sweden’s National Board of Health and Welfare

determined in 2022 that the risks of puberty blockers and hormonal

treatment “currently outweigh the possible benefits” for children and




commissioning/gender-dysphoria-services/user_uploads/b1937-ii-
specialist-service-for-children-and-young-people-with-gender-dysphoria-
1.pdf.
22 Id.

23 Id.

24 Id. at 17.




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minors.25 After conducting systematic reviews in 2015 and 2022, Sweden

found the evidence on hormonal treatment in adolescents “insufficient

and inconclusive.”26 The country prohibits gender-transition surgeries for

children.27

         Finland also changed course after its Council for Choices in Health

Care, a monitoring agency for the country’s public health services, came

to similar conclusions. That country called for psychosocial support as the

first choice in gender dysphoria treatment, rather than puberty blockers

or hormonal intervention.28 And, like its neighbor Sweden, Finland

prohibits transition surgeries for children, restricting them to adults.29




25 Socialstyrelsen: National Board of Health and Welfare, “Care of
children and adolescents with gender dysphoria,” Report 2022-3-7799:
https://www.socialstyrelsen.se/globalassets/
sharepoint-dokument/artikelkatalog/kunskapsstod/2022-3-7799.pdf.
26 Id.

27 See supra note 4.

28 Palveluvalikoima (Council for Choices in Health Care in Finland),
“Medical treatment methods for gender dysphoria in non-binary adults—
recommendation”                        (June                    2020):
https://palveluvalikoima.fi/documents/1237350/22895623/
Summary_non-binary_en.pdf/8e5f9035-6c98-40d9-6acd-7459516d6f92/
Summary_non-binary_en.pdf?t=1592318035000.
29 See supra note 4.




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     The Norwegian Healthcare Investigation Board announced in early

March that they deem puberty blockers, cross-sex hormones, and

transition surgeries for minors with gender dysphoria to be experimental

treatments that lack a strong evidential base. Current protocols for

“gender-affirming care,” they have concluded, are not evidence-based,

and they have recommended that the Norwegian guidelines be reformed

to reflect their recommendations. (At the moment, Norwegian guidelines

align with the WPATH recommendations.) The Investigation Board

criticizes these guidelines for failing to protect pubertal minors who are

in precarious state and may later regret their transition.30

     Denmark is the latest European country to return to a much more

conservative approach. This change was announced quietly in July

2023.31

     Unlike the European health authorities in the UK, Sweden, and

Finland,   neither      WPATH    nor     their     allied   American      medical



30  The Norwegian Healthcare Investigation Board (Ukom),
“Pasientsikkerhet for barn og unge med kjønnsinkongruens” (March 9,
2023),                  at:                https://ukom.no/rapporter/
pasientsikkerhet-for-barn-og-unge-med-
kjonnsinkongruens/sammendrag.
31 See supra note 17.




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organizations have conducted systematic reviews of the relevant

literature.32 Consider the guidelines published by the American Academy

of Pediatrics. These are based on a single, non-peer-reviewed, highly

flawed policy statement in its own journal by a doctor who was finishing

his residency at the time of publication.33 The Endocrine Society has

rated the quality of evidence behind its own recommendations as “low” or

“very low.”34

     Under intense pressure from critics, the American Academic of

Pediatrics finally announced in August 2023 that it, too, would conduct a

systematic review of the evidence. But they have not suspended or even


32 Leor Sapir, “Trust the Experts’ Is Not Enough: US Medical Groups Get

the Science Wrong on Pediatric ‘Gender-Affirming’ Care,” Manhattan
Institute 5 (Winter 2022), at: https://www.manhattan-institute.org/how-
to-respond-to-medical-authorities-claiming-gender-affirming-care-is-
safe.
33 Jason Rafferty, “Ensuring Comprehensive Care and Support for
Transgender and Gender-Diverse Children and Adolescents,” Pediatrics
142, no. 4 (Oct 2018): https://doi.org/10.1542/peds.2018-2162. This
statement received a devastating rebuttal by James M. Cantor,
“Transgender and Gender Diverse Children and Adolescents: Fact-
Checking of AAP Policy,” Journal of Sex & Medical Therapy 46, no. 4
(2020): https://doi.org/10.1080/0092623X.2019.1698481.
34 Robin Respaut and Chad Terhune, “Number of transgender children

seeking treatment surges in US,” Reuters (Oct. 6, 2022):
https://www.reuters.com/investigates/special-report/usa-transyouth-
data/.


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qualified their advocacy of these experimental procedures in the

meantime.35

     The   Court    should   consider    the    likelihood       that   medical

organizations pushing “gender-affirming care” are not summarizing the

state of the scientific literature but are acting as advocacy groups that

have been captured by a fashionable ideology.36 Any court considering

their testimony should ask them to cite the long-term studies and

randomized control trials on which their guidelines are based. They

should be asked to explain what the health authorities in the U.K.,

Finland, Sweden, and Denmark have gotten wrong. They should be asked

to predict, on the record, that gender-troubled teens in these European

countries will have worse long-term outcomes than American teens who

receive puberty blockers, cross-sex hormones, and transition surgery.

They should be asked to explain their guidelines for treating



35 Azeen Ghorayshi, “Medical Groups Backs Youth Gender Treatments,

but Call for Research Review,” The New York Times (Aug. 3, 2023),
https://www.nytimes.com/2023/08/03/health/aap-gender-affirming-care-
evidence-review.html.
36 James Kirkup, “The document that reveals the remarkable tactics of

trans    lobbyists,”    The    Spectator    (Dec.    2,   2019),             at:
https://www.spectator.co.uk/article/the-document-that-reveals-the-
remarkable-tactics-of-trans-lobbyists/.


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detransitioners and should be challenged if they try to dismiss or explain

away the experiences of detransitioners.

III. Dangerous Myths.

        a. The Notion that Sex-Trait Modifications Are Necessary
           to Prevent Suicide is an Unproven Myth.

     There is no robust evidence that puberty blockers, cross-sex

hormones and surgeries are effective at preventing suicide in gender-

dysphoric minors, let alone necessary.37 Studies conducted prior to the

recent explosion in pediatric gender dysphoria consistently showed that

most children with gender distress resolved that distress after passing

through puberty.38

     Health authorities in Sweden, Finland, and the U.K. have

examined this suicidality claim and found it unreliable. Consider

Finland’s leading expert on pediatric medicine, Dr. Riittakerttue

Kaltiala. She recently called the “affirm or suicide” narrative




37 Michael Biggs, “Suicide by Clinic Referred Transgender Adolescents in

the United Kingdom,” Archives of Sexual Behavior (2022), at:
https://pubmed.ncbi.nlm.nih.gov/35043256.
38 W. Bockting, “Chapter 24: Transgender Identity Development,” in D.

Tolman & L. Diamond, Co-Editors-in-Chief APA Handbook of Sexuality
and Psychology (2 volumes) (American Psychological Association:
Washington D.C., 2014): 744.


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“disinformation” and its dissemination by medical professionals

“irresponsible.”39

      Consider also a recent analysis by my colleague, Jay Greene, which

compared availability of puberty blockers and cross-sex hormones in U.S.

states. He found that teen suicides were higher in states in which minors

could access these drugs without parental consent, than in more

restrictive states.40

      Here in the United States, multiple studies have reached similar

conclusions—including studies commissioned by WPATH itself. A 2021

study published in the Journal of the Endocrine Society—and funded by

a grant from WPATH—examined the evidence that hormonal treatment

improved depression, anxiety, and quality of life among people who

identified as transgender. Even they concluded that the strength of that




39  Annikka Mutanen, “Nuoruusiän sukupuoliahdistusta hoitava
professori sanoo ei alaikäisten juridisen sukupuolen korjaukselle,”
Helsingin Sanomat (January 27, 2023), at: https://www.hs.fi/tiede/art-
2000009348478.html.
40 Jay Greene, “Puberty Blockers, Cross-Sex Hormones, and Youth
Suicide,” Heritage Foundation Backgrounder 3712 (June 13, 2022), at:
https://www.heritage.org/gender/report/puberty-blockers-cross-sex-
hormones-and-youth-suicide.


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evidence was “low.”41 That same WPATH-commissioned study went on to

emphasize the need for more research, “especially among adolescents.” 42

Finally, and significantly, the WPATH-commissioned study determined

that “it was impossible to draw conclusions about the effects of hormone

therapy” on death by suicide.43

         The suicide narrative of advocates of the “affirmative” approach

distorts the truth. It exploits a very simple causation-correlation fallacy.

While there is evidence that teenagers who experience gender

discordance have high rates of suicidal thoughts and non-lethal forms of

self-harm, there is no evidence that their elevated suicidality is because

of this discordance. Nor is there evidence that “gender-affirming care”

will solve their problems.44




41 Kellan Baker, et al., “Hormone Therapy, Mental Health, and Quality

of Life Among Transgender People: A Systematic Review,” Journal of the
Endocrine       Society     5,    Issue  4     (April    2021)      at:
https://doi.org/10.1210/jendso/bvab011.
42 Id.

43 Id.

44  Polly Carmichael, Gary Butler, et al., “Short-term outcomes of
pubertal suppression in a selected cohort of 12 to 15 year old young people
with persistent gender dysphoria in the UK,” PLOS One (Feb. 2, 2021):
https://doi.org/10.1371/journal.pone.0243894.


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         Put simply, the evidence suggests that teenagers who are at high

risk for suicide are more likely to adopt an identity incongruent with their

sex, not the other way around.45

           b. Claims that Puberty Blockers are “Reversible” and
              FDA-Approved for Gender Dysphoria are Myths.

         The use of puberty blockers to treat gender dysphoria has exploded

in the U.S. in recent years. Recent analyses indicate that nearly 18,000

U.S. minors began taking puberty blockers or hormones from 2017 to

2021, with the number rising each year.46          The      drugs      generally

suppress the release of the sex hormones testosterone and estrogen.47 The

U.S. Food and Drug Administration has approved these drugs to treat

serious medical conditions such as prostate cancer, endometriosis, and

central precocious puberty--in which the benefits of the drug are likely to

exceed the often severe side effects. But the FDA has not approved these




45 J.K. Meyer and D. Reter, “Sex Reassignment Follow up,” Arch. Gen

Psychiatry 36 (1979): 1010-1015.
46 Robin Respaut and Chad Terhune, “Number of transgender children

seeking treatment surges in US,” Reuters (Oct. 6, 2022):
https://www.reuters.com/investigates/special-report/usa-transyouth-
data/.
47 Id.




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drugs to treat gender dysphoria in minors.48 As such, any use of these

drugs to treat gender dysphoria are “off label” and lack the “support of

clinical trials to establish their safety for such treatment.”49

         Puberty-blocking drugs work by suppressing sex hormones, which

in turn prevent the development of key secondary sex characteristics,

such as breast development and menstruation in girls, and block the

development of a deeper voice and growth of facial hair in boys. 50

Significantly, the drugs also limit the growth of genitalia for both sexes.51

These medications are typically administered as periodic injections or

through an implant under the skin of the upper arm.52

         Contrary to frequent claims, puberty blockers given to minors are

not simply reversible.53 First, that claim is based on studies done on a

very different condition, called precocious puberty, in which puberty


48 Id.

49 Id.

50 Id.

51 Id.

52 Id.

53 Michael Laidlaw, Michelle Cretella and Kevin Donovan, “The Right to

Best Care for Children Does Not Include the Right to Medical
Transition,” American Journal of Bioethics 19 no. 2 (2019): 75-77.
https://doi.org/10.1080/15265161.2018.1557288.


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starts too early but is always allowed to resume at a developmentally

normal time.

     Second, these drugs can lead to lower bone density in minors who

receive them, which may persist even after the drugs are discontinued.54

     Third, when used for minors with gender distress, they are

iatrogenic interventions: over 95 % of such minors will move on to cross-

sex hormones. This is not reversible.55

     Fourth, no physician can reverse time. Even when puberty blockers

are discontinued, social and psychological harms may remain—since the

minor in question will be out of step with the development of his or her

peers.   Thus, it’s no surprise that New Zealand’s ministry of health




54Janet Y. Yee et al., “Low Bone Mineral Density in Early Pubertal
Transgender/Gender Diverse Youth: Findings From the Trans Youth
Care Study,” Journal of the Endocrine Society 4, no. 9 (Sep. 1, 2020):
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC7433770/.
55 Sarah C. J. Jorgensen et al., “Puberty blockers for gender dysphoric

youth: A lack of sound science,” Journal of the American College of
Clinical Pharmacy 5, no. 9 (2022): https://doi.org/10.1002/jac5.1691.


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recently scrubbed the words “reversible” from its website when

discussing puberty blockers.56

          c. The Notion that Detransitioners Do Not Exist is a Myth.

     The last decade has seen a rapid rise in those seeking hormonal and

surgical treatments to conform their bodies to a discordant, perceived

“gender identity.” Coincident with this rise has been a rise in the number

“detransitioners” who come to regret that decision. These are individuals

who receive “transition” interventions but then come to regret this. In

many cases, detransitioners come to accept their sex and overcome their

gender dysphoria. They often argue that these medical interventions

caused preventable harm.57

     The total number of detransitioners is unknown,58 as is the ratio of

transitioners to detransitioners, because of a current lack of large-scale,


56 “Puberty Blockers ’Not Safe & Reversible’ - Ministry of Health,” Family

First         New           Zealand        (Sept        21,              2022):
https://familyfirst.org.nz/2022/09/23/puberty-blockers-not-safe-
reversible-ministry-of-health/.
57 Lisa Littman, “Individuals treated for gender dysphoria with medical

and/or surgical transition who subsequently detransitioned: a survey of
100 detransitioners,” Archives of Sexual Behavior 50 (Oct. 19, 2021):
https://doi.org/10.1007/s10508-021-02163-wpmid:34665380.
58 R. D’Angelo, E. Syrulnik, S. Ayad, et al., “One Size Does Not Fit All: In

Support     of   Psychotherapy    for    Gender      Dysphoria,” Arch       Sex


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long-term research on this growing population.59 While WPATH asserts

that detransition is “rare,”60 at least “two recent studies suggest that as

many as 20-30% of patients may discontinue hormone treatment within

a few years.”61 And a 2021 study found that 75% of detransitioners never

reported their regret and detransition to their doctors.62 That means

doctors could mistakenly believe that all their patients were satisfied

with their transition.

                              CONCLUSION

      Advocates of “gender affirming care” presuppose the highly

contested and controversial conceptual framework of gender ideology.

This ideology contradicts biological reality at key points. This fact is often



Behav (2020): https://doi.org/10.1007/s10508-020-01844-2 (citing R.
D’Angelo, “Psychiatry’s ethical involvement in gender-affirming
care,” Australasian Psychiatry 26, no. 5 (2018): 460-63, at:
https://doi.org/10.1177/1039856218775216).
59  Robin Respaut, Chad Terhune and Michelle Conlin, “Why
detransitioners are crucial to the science of gender care,” Reuters (Dec.
22,   2022):    https://www.reuters.com/investigates/special-report/usa-
transyouth-outcomes/.
60 R. E. Coleman et al., “Standards of care for the health of transgender

and gender diverse people, Version 8,” Int J Transgend Health 23 (2022,
Suppl 1): https://doi.org/10.1080/26895269.2022.2100644.
61 See supra note 4.

62 See supra note 57.




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obscured, however, because of efforts to associate the notion of “gender

identity” with genuine disorders of sexual development. But these are

unrelated phenomena. Disorders of sexual development have clear

biological definitions grounded in both common sense and empirical

evidence. Very few individuals who cite a “gender identity” incongruent

with their biological sex have a physical disorder of sexual development.

Biologically, almost all these individuals, prior to undergoing “gender

transition,” are unambiguously male or female.

     Gender ideology reduces sex to “sex assigned at birth” and reduces

the person to a subjective notion of “gender identity” for which there can

be no verifiable evidence, and which is often poorly and even incoherently

defined.63 Those seized by this ideology tend to dismiss or ignore the

social pressures on teenagers—especially girls—to try to escape the

naturally distressing phase of puberty. This may be why these advocates




63 Quentin Van Meter, “Bringing Transparency to the Treatment of
Transgender Persons,” Issues in Law and Medicine 34, no. 2 (Fall 2019):
147; Alex Byrne, “What is gender identity? Arc Digital (Jan. 9, 2019):
https://philpapers.org/rec/BYRWIG; Alex Byrne, The Origin of ‘Gender
Identity,’”      Archives     of     Sexual     Behavior        (2023):
https://doi.org/10.1007/s10508-023-02628-0.



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avoid language that would imply the reality of biological sex, opting

instead to refer to “sex assigned at birth.” This betrays the fact that

gender ideology is at odds with basic biology.

     There is, and can be, no scientific confirmation of a gender identity

that is independent of the sexed body. What we know, from scientific

study and common sense, is that humans, like all mammals, are sexually

binary. There are two sexes, corresponding in normal development to two

body structures (phenotypes) organized for sexual reproduction, with two

corresponding gametes. There is no third gamete.

     Some individuals have psychological distress with their sexed body,

but this is not independent evidence that individuals have “gender

identities,” let alone that such theory-laden entities are more

fundamental than their biological sex. Such persons should be treated

with compassion and should receive medical and psychological

treatments consistent with the best scientific evidence.

     As recently practiced in the U.S., however, “gender affirming care”

for minors is an attempt to treat psychological distress with permanent,

draconian, and experimental medical interventions. This is the medical




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expression of a tendentious ideology that privileges a putative and

subjective “gender identity” over the immutable sex of distressed minors.

Medicine, and medical organizations, have, in the past, been captured by

ideological fashions. The widespread practice of eugenics during the

previous century may be an especially bracing example,64 but it is hardly

unique. Some medical institutions have once again been captured by a

fashionable ideology that provides strong financial incentives for certain

practitioners. In such a situation, it falls to more objective medical

authorities, including state regulators, to assess the evidence for these

interventions independently. The state medical authorities in Florida

have done precisely that in this case. They are right to do so.

     The Court should reverse the district court.



October 13, 2023                         Respectfully Submitted,
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                                         By Counsel


                                         /s/ R. Trent McCotter
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64 Edwin Black, War Against the Weak: Eugenics and America’s
Campaign to Create a Master Race (New York: Dialog, Expanded edition,
2012).


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     I hereby certify that on October 13, 2023, an electronic copy of the

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                         /s/ R. Trent McCotter




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     I certify that this brief complies with the typeface requirements of

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